Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 1 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 2 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 3 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 4 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 5 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 6 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 7 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 8 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 9 of 154




                                                  Exhibit A to Notice of Removal
                  Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 10 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 11 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 12 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 13 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 14 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 15 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 16 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 17 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 18 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 19 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 20 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 21 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 22 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 23 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 24 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 25 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 26 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 27 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 28 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 29 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 30 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 31 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 32 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 33 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 34 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 35 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 36 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 37 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 38 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 39 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 40 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 41 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 42 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 43 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 44 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 45 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 46 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 47 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 48 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 49 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 50 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 51 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 52 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 53 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 54 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 55 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 56 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 57 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 58 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 59 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 60 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 61 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 62 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 63 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 64 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 65 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 66 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 67 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 68 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 69 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 70 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 71 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 72 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 73 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 74 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 75 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 76 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 77 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 78 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 79 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 80 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 81 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 82 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 83 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 84 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 85 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 86 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 87 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 88 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 89 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 90 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 91 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 92 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 93 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 94 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 95 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 96 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 97 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 98 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 99 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 100 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 101 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 102 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 103 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 104 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 105 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 106 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 107 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 108 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 109 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 110 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 111 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 112 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 113 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 114 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 115 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 116 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 117 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 118 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 119 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 120 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 121 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 122 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 123 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 124 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 125 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 126 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 127 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 128 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 129 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 130 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 131 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 132 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 133 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 134 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 135 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 136 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 137 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 138 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 139 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 140 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 141 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 142 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 143 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 144 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 145 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 146 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 147 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 148 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 149 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 150 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 151 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 152 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 153 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
Case 1:18-cv-00096-LAG Document 1-1 Filed 05/09/18 Page 154 of 154




                                                   Exhibit A to Notice of Removal
                   Candace J. Thomas, et al vs Phoebe Putney Health System, et al.
